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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

  UNITED STATES OF AMERICA,                         )
                                                    )
                              Plaintiff,            )
                                                    )
                         v.                         )     No. 3:15-cr-00043-RLY-CMM
                                                    )
  AMANDA J. CARRENO,                                ) -05
                                                    )
                              Defendant.            )



               ORDER ADOPTING REPORT AND RECOMMENDATION

         The Magistrate Judge submitted his Report and Recommendation on USPO Petition

  for Action on Conditions of Supervised Release. The parties were afforded due

  opportunity pursuant to statute and the rules of this court to file objection; none were filed.

  The court, having considered the Magistrate Judge’s Report and Recommendation, hereby

  ADOPTS the Magistrate Judge’s Report and Recommendation.



  SO ORDERED this 1st day of June 2021.




  Distributed Electronically to Registered Counsel of Record
